                       Case 16-11496-JKO         Doc 135     Filed 02/10/19     Page 1 of 4
                                       United States Bankruptcy Court
                                       Southern District of Florida
In re:                                                                                  Case No. 16-11496-JKO
Constance Marie Freund                                                                  Chapter 13
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 113C-0           User: graster-t              Page 1 of 2                   Date Rcvd: Feb 08, 2019
                               Form ID: CGFD44              Total Noticed: 32


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 10, 2019.
db             #Constance Marie Freund,    11810 NW 5th Ct,    Plantation, FL 33325-1814
aty            +Ashleigh C McKenzie,     P.O. Box 23028,    Tampa, FL 33623-2028
smg            +Broward County Tax Collector,     115 S Andrews Ave,    Ft Lauderdale, FL 33301-1818
cr             +Bayview Loan Servicing, LLC,     c/o Matt Holtsinger,    P.O. Box 800,    Tampa, FL 33601-0800
cr             +Broward County Records, Taxes, & Treasury,     Attn: Bankruptcy Section,
                 115 S. Andrews Ave. #A-100,     Fort Lauderdale, FL 33301-1888
md             +Bruce Blitman,    9050 Pines Blvd #450-2,    Pembroke Pines, FL 33024-6401
cr             +Wilmington Savings Fund Society, FSB,     SHD Legal Group P.A.,     PO BOX 19519,
                 Fort Lauderdale, FL 33318-0519
93658375       +Bayview Loan Servicing,    c/o Matthew M Holtsinger,     POB 800,    Tampa, FL 33601-0800
93418742        Bayview Loan Servicing, LLC,     4428 Ponce De Leon Fl 5,    Coral Gables, FL 33146
93516895       +Broward County Records, Taxes & Treasury,     Attn: Bankruptcy Section,
                 115 S. Andrews Ave A-100,    Ft Lauderdale, FL 33301-1888
93476393        Hampton Lakes if Davenport Homeowners,     PO Box 628207,    Orlando, FL 32862-8207
93676921       +Hampton Lakes of Davenport Homeowners Association,,      c/o The Ruggieri Law Firm, P.A.,
                 111 N Orange Ave #725,    Orlando, FL 32801-2395
93476394        Nationstar Mortgage,    PO Box 650783,    Dallas, TX 75265-0783
93430842       +Nationstar Mortgage LLC,    c/o Aldridge Pite, LLP,     Fifteen Piedmont Center,
                 3575 Piedmont Road N.E, Suite 500,     Atlanta, GA 30305-1636
93568237       +Section Ten Association, Inc.,     c/o Charles F. Otto, Esq.,     2699 Stirling Road,   Suite C-207,
                 Fort Lauderdale, FL 33312-6541
93476396        The Mainlands of Tamarac Lakes, 10th Sec,     6724 NW 61st St,     Tamarac, FL 33321-5619
93612684       +WELLS FARGO BANK, NATIONAL ASSOCIATION,     Nationstar Mortgage LLC,     PO Box 619096,
                 Dallas, TX 75261-9096
93516910       +WOODS COVE IV LLC,    FILE 1580,    1801 W OLYMPIC BLVD,    PASADENA, CA 91199-0001
93574591       +Wells Fargo,   c/o Jeffrey S Fraser,     Albertelli Law,    P.O. Box 23028,    Tampa, FL 33623-2028
93618324       +Wells Fargo Bank,    c/o Ashley Prager Popowitz,     110 S.E. 6th Street, Suite 2400,
                 Ft Lauderdale, FL 33301-5056
93574891       +Westside Regional Medical Center,     Resurgent Capital Services,     PO Box 1927,
                 Greenville, SC 29602-1927

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             EDI: FLDEPREV.COM Feb 09 2019 06:33:00       Florida Department of Revenue,     POB 6668,
                 Bankruptcy Division,    Tallahassee, FL 32314-6668
ust            +E-mail/Text: USTPRegion21.MM.ECF@usdoj.gov Feb 09 2019 02:18:23        Office of the US Trustee,
                 51 S.W. 1st Ave.,    Suite 1204,    Miami, FL 33130-1614
93476391       +EDI: AMEREXPR.COM Feb 09 2019 06:33:00       American Express,    POB 981537,
                 El Paso, TX 79998-1537
93572998        EDI: BECKLEE.COM Feb 09 2019 06:33:00       American Express Bank FSB,    c/o Becket and Lee LLP,
                 PO Box 3001,   Malvern PA 19355-0701
93659187       +E-mail/Text: bkmailbayview@bayviewloanservicing.com Feb 09 2019 02:19:14
                 Bayview Loan Servicing, LLC,     4425 Ponce de Leon Blvd., 5th Floor,
                 Coral Gables, FL 33146-1837
93644939       +EDI: ATTWIREBK.COM Feb 09 2019 06:33:00       BellSouth Telecommunications, Inc.,
                 c/o AT&T Services, Inc,    Karen A. Cavagnaro - Lead Paralegal,     One AT&T Way, Room 3A104,
                 Bedminster, NJ 07921-2693
93476392        EDI: DISCOVER.COM Feb 09 2019 06:33:00       Discover Financial Services,     POB 15316,
                 Wilmington, DE 19850-0000
93471249        EDI: DISCOVER.COM Feb 09 2019 06:33:00       Discover Bank,    Discover Products Inc.,
                 PO Box 3025,   New Albany, OH 43054-3025
93418743        EDI: IRS.COM Feb 09 2019 06:33:00       Internal Revenue Service,    POB 7346,
                 Philadelphia, PA 19101-7346
93418744       +E-mail/Text: Bankruptcynotices2@kasslaw.com Feb 09 2019 02:17:39        Kass Shuler PA,
                 1505 N Florida Ave Ashley L. Simon,     Tampa, FL 33602-2654
94311613        E-mail/Text: bkteam@selenefinance.com Feb 09 2019 02:17:47
                 WILMINGTON SAVINGS FUND SOCIETY, FSB,     C/O Selene Finance LP,    P.O. Box 422039,
                 Houston, TX 77242-4239
                                                                                                TOTAL: 11

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*             +Section Ten Association, Inc.,    c/o Charles F. Otto, Esq.,    2699 Stirling Road,    Suite C-207,
                  Fort Lauderdale, FL 33312-6541
93575278*       +Wells Fargo,   c/o Jeffrey S Fraser,    Albertelli Law,    P.O. Box 23028,   Tampa, FL 33623-2028
93615972*       +Wells Fargo Bank, National Association,,    Nationstar Mortgage LLC,    PO Box 619096,
                  Dallas TX 75261-9096
cr            ##+Hampton Lakes of Davenport Homeowners Association,,     c/o The Ruggieri Law Firm, P.A.,
                  390 N. Orange Ave.,    Suite 2300,   Orlando, FL 32801,     UNITED STATES 32801-1684
93476395       ##Ruggieri Law Firm,    390 N Orange Ave Ste 2300,   Orlando, FL 32801-1684
                                                                                               TOTALS: 0, * 3, ## 2

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.
                           Case 16-11496-JKO               Doc 135         Filed 02/10/19         Page 2 of 4



District/off: 113C-0                  User: graster-t                    Page 2 of 2                          Date Rcvd: Feb 08, 2019
                                      Form ID: CGFD44                    Total Noticed: 32


             ***** BYPASSED RECIPIENTS (continued) *****

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 10, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 8, 2019 at the address(es) listed below:
              Ashley Prager Popowitz    on behalf of Creditor    Wells Fargo Bank, National Association
               Ashley.popowitz@mccalla.com, flbkecf@mccalla.com
              Carl L Kitchner    on behalf of Creditor    Broward County Records, Taxes, & Treasury
               ckitchner@broward.org, swulfekuhle@broward.org
              Charles F Otto    on behalf of Creditor    Section Ten Association, Inc. cfo@straleyotto.com
              Elias Leonard Dsouza    on behalf of Debtor Constance Marie Freund dtdlaw@aol.com,
               chasity@dsouzalegal.com;service@dsouzalegal.com;G21523@notify.cincompass.com;beatrisa@dsouzalegal
               .com;victoria@dsouzalegal.com;Johanna@dsouzalegal.com;3079219420@filings.docketbird.com;andrea@ds
               ouzalegal.com
              Ella K Roberts    on behalf of Creditor    Wells Fargo Bank bkfl@albertellilaw.com,
               anhsalaw@infoex.com
              Frank A Ruggieri    on behalf of Creditor    Hampton Lakes of Davenport Homeowners Association,
               Inc. pleadings@ruggierilawfirm.com
              Jeffrey S Fraser    on behalf of Creditor    Wells Fargo Bank, National Association
               bkfl@albertellilaw.com, anhsalaw@infoex.com
              Jessica A Hicks     on behalf of Creditor    Bayview Loan Servicing, LLC
               bankruptcynotices@kasslaw.com, jhicks@ecf.courtdrive.com
              Joshua C Kligler    on behalf of Creditor    Wilmington Savings Fund Society, FSB
               joshua.kligler@dunnlawpa.com, nnayor@dunnlawpa.com;rbasnueva@dunnlawpa.com
              Nicole M Noel    on behalf of Creditor    Bayview Loan Servicing, LLC bankruptcynotices@kasslaw.com,
               nmnoel@ecf.courtdrive.com
              Office of the US Trustee    USTPRegion21.MM.ECF@usdoj.gov
              Robin R Weiner    ecf@ch13weiner.com;ecf2@ch13weiner.com
              Wanda D Murray    on behalf of Creditor    Wells Fargo Bank ecfflsb@aldridgepite.com,
               WMurray@ecf.courtdrive.com
              Wanda D Murray    on behalf of Creditor    Nationstar Mortgage LLC ecfflsb@aldridgepite.com,
               WMurray@ecf.courtdrive.com
                                                                                              TOTAL: 14
                          Case 16-11496-JKO                     Doc 135           Filed 02/10/19             Page 3 of 4
CGFD44 (10/01/16)




ORDERED in the Southern District of Florida on February 8, 2019




                                                                                                  John K Olson
                                                                                                  United States Bankruptcy Judge



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                Case Number: 16−11496−JKO
                                                                                                                Chapter: 13


In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Constance Marie Freund
11810 NW 5th Ct
Plantation, FL 33325−1814

SSN: xxx−xx−2421




             ORDER DISMISSING CASE PURSUANT TO TRUSTEE'S REPORT OF
            NON−COMPLIANCE BY DEBTOR WITH POST CONFIRMATION PLAN

     As provided under Local Rule 3070−1(C)(2)(c), a Report of Non−Compliance by Debtor with Plan
Payments has been filed by the trustee in this case indicating that the debtor was served by the trustee
with a notice of delinquency which established a deadline for the debtor to become current with plan
payments and that the debtor has failed to meet this deadline.
       Accordingly, it is
ORDERED that:



                                                                    Page 1 of 2
                       Case 16-11496-JKO                Doc 135        Filed 02/10/19   Page 4 of 4




      1. This case is dismissed with prejudice as to the filing of any bankruptcy case in any federal
         bankruptcy court in the United States of America by the above−named debtor for 180 days
         from entry of this order, or the expiration of any prejudice period set in any previous order,
         whichever is later.

      2. All pending motions are denied as moot.

      3. The trustee shall file a final report prior to the administrative closing of the case.

      4. (If applicable) the debtor shall immediately pay to the Clerk, U.S. Court, Federal Building, 299
         E Broward Blvd, Room 112, Ft Lauderdale FL 33301, $0.00 for the balance of the filing fee as
         required by Local Rule 1017−2(E). Any funds remaining with the trustee shall be applied to this
         balance and the trustee must dispose of any funds in accordance with the Bankruptcy Code
         and Local Rule 1017−2(F), unless otherwise ordered by the court. The court will not entertain
         a motion for reconsideration of this order unless all unpaid fees are paid at the time the motion
         is filed.

      5. A motion to rehear, reconsider, or reinstate a dismissed case must be filed in accordance with
         the requirements of Local Rule 9013−1(E).

      6. In accordance with Local Rule 1002−1(B)(1), the clerk of court is directed to refuse to accept
         for filing any future voluntary petitions submitted by this debtor if the refiling violates a prior
         order of the court or if the petition is accompanied by an Application to Pay Filing Fee in
         Installments and filing fees remain due from any previous case filed by the debtor.



The clerk of court shall serve a copy of this order on all parties of record.




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                                                           Page 2 of 2
